      Case 2:19-cv-00239-GMS Document 37 Filed 01/27/20 Page 1 of 2



 1
 2
 3
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Ronald H. Pratte,                               No. CV-19-00239-PHX-GMS
10                 Plaintiff,                        ORDER
11   v.
12   Jeffrey Bardwell, et al.,
13                 Defendants.
14
15
           Pending before the Court is the Parties’ (Second) Joint Motion to Modify Case
16
     Management Order (Doc. 36) to extend the deadlines as ordered by the Court on October 8,
17
     2019 (Doc. 29). Accordingly,
18
           IT IS HEREBY ORDERED granting the Joint Motion to Modify Case
19
     Management Order (Doc. 36) and extending the deadlines set forth in the Court’s
20
     October 8, 2019 Order (Doc. 29) as follows:
21
           IT IS FURTHER ORDERED:
22
           1.     Extending the deadline for final supplementation of MIDP responses and
23
     Extending the deadline for final supplementation of MIDP responses and the completion
24
     of fact discovery, including discovery by subpoena, from January 31, 2020 to
25
26   February 28, 2020.

27         2.     Extending the deadline for Plaintiff to provide full and complete expert

28   disclosures from February 21, 2020 to March 27, 2020.
      Case 2:19-cv-00239-GMS Document 37 Filed 01/27/20 Page 2 of 2



 1          3.      Extending the deadline for Defendants to provide full and complete expert
 2   disclosures from March 13, 2020 to April 10, 2020.
 3          4.      Extending the deadline for rebuttal expert disclosures from April 10, 2020 to
 4   May 8, 2020.
 5          5.      Extending the deadline for completing all expert depositions from May 15,
 6   2020 to June 19, 2020.
 7          6.      Defendants further request the Court extend the dispositive motion deadline
 8
     to July 17, 2020 to maintain the overall timeline whereby all information can be
 9
     considered, including expert depositions, if needed.
10
            7.      To comport with the Court’s prior Case Management Order, it is requested
11
     the pre-motion conference letter submission and contact date be moved from May 8, 2020
12
     to June 12, 2020. On or before June 12, 2020, the parties shall exchange their respective
13
     two-page letters regarding any anticipated dispositive motions, and on June 12, 2020, the
14
     parties shall contact the Court to schedule a time for the pre-motion conference, if needed.
15
            IT IS FURTHER ORDERED that the deadlines shall not be further extended
16
     absent unusually compelling circumstances.
17
            Dated this 27th day of January, 2020.
18
19
20
21
22
23
24
25
26
27
28


                                                 -2-
